Case 2:16-cv-06576-CCC-MAH               Document 319-3         Filed 08/24/23      Page 1 of 27 PageID:
                                               13855



                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


  INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.

                                  Plaintiff,
                                                           Civil Action No: 2:16-cv-06576
               v.                                          (KM) (MAH)

  LATINFOOD U.S. CORP. d/b/a ZENÚ
  PRODUCTS CO. and WILSON ZULUAGA,

                                  Defendants.



                     PLAINTIFF’S RESPONSE TO DEFENDANTS’ FIRST SET
                      OF REQUESTS FOR PRODUCTION OF DOCUMENTS

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, plaintiff Industria de

  Alimentos Zenú S.A.S. (“Plaintiff”) hereby responds to defendants Latinfood U.S. Corp. d/b/a

  Zenú Products Co. (“Latinfood”) and Wilson Zuluaga (with Latinfood, “Defendants”) First Set

  of Document Requests (“Document Requests”) as follows:

                      OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

         Plaintiff objects to the following definitions set forth by Defendants in their Document

  Requests:

         1.         Plaintiff objects to Defendants’ definition of “Plaintiff” to include counsel for

  Plaintiff, as counsel does not maintain business records or non-privileged materials for

  Defendants. Plaintiff Industria de Alimentos Zenú will provide documents and information from

  any parent, subsidiary, principal, officer, director, employees or staff members.

         2.      Plaintiff objects to Defendants’ definition of “control” to include counsel for

  Plaintiff, as counsel does not maintain business records or non-privileged materials for
Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23      Page 2 of 27 PageID:
                                             13856



  Defendants. Plaintiff Industria de Alimentos Zenú will provide documents and information from

  any parent, subsidiary, principal, officer, director, employees or staff members.

         3.      Plaintiff objects to Defendants’ definition of “Plaintiff’s Marks” as encompassing

  all designations and trademarks used by “Plaintiff” (the defined term to include all subsidiaries,

  parents, partners or other affiliates of Industria de Alimentos Zenú S.A.S.) because it is overly

  broad and encompasses numerous marks and brands that are not the subject of this litigation.

  Plaintiff will only provide documents and information pertaining to the ZENÚ and RANCHERA

  designations or trademarks.

         4.      Plaintiff objects to Defendants’ instruction in paragraph P, as it appears to relate

  to interrogatories, and therefore requires clarification.


                                      GENERAL OBJECTIONS

         These General Objections form a part of each response. Thus, the absence of a reference

  to a General Objection should not be construed as a waiver of the General Objections to a

  specific Document Request.

         1.      Plaintiff objects to the Document Requests to the extent that they seek

  information that is not relevant to this action, immaterial, or not reasonably calculated to lead to

  the discovery of admissible evidence in this action.

         2.      Plaintiff objects to the Document Requests to the extent that they are vague,

  ambiguous and, thus, not susceptible to a reasoned interpretation or response.

         3.      Plaintiff objects to the Document Requests to the extent that they are overbroad,

  unduly burdensome, oppressive, unreasonably cumulative and/or duplicative.

         4.      Plaintiff objects to the Document Requests to the extent that the documents

  sought are not within Plaintiff’s possession, custody or control.



                                                   -2-
Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23    Page 3 of 27 PageID:
                                             13857



            5.    Plaintiff objects to the Document Requests to the extent that they seek documents

  that are publicly available or already or equally in the Defendants’ possession, custody or

  control. Likewise, Plaintiff objects to the Document Requests to the extent that the information

  sought is clearly in the possession of a party other than Plaintiff.

            6.    Plaintiff objects to the Document Requests to the extent that they seek documents

  from a time period not relevant to this action.

            7.    Plaintiff objects to the Document Requests to the extent that they seek

  confidential business, financial and/or proprietary information.

            8.    Plaintiff objects to the Document Requests to the extent that they seek

  information about Plaintiff’s sales and products without a geographical limitation.

            9.    Plaintiff objects to the Document Requests to the extent that they seek documents

  protected by the attorney-client privilege both under federal law and pursuant to N.J.S.A. 2A:84-

  A-20, the work-product doctrine and/or other applicable privileges or immunities. Such

  information shall not be provided in response hereto, and inadvertent disclosure of the same shall

  not be deemed a waiver of any such privilege or immunity.

            10.   Plaintiff objects to the Document Requests to the extent that they seek documents

  already produced to Defendants in connection with the proceeding before the Trademark Trial

  and Appeal Board, Proceeding No. 92059947. As set forth by Magistrate Judge Hammer in the

  scheduling conference on April 5, 2017, such duplicative discovery should be avoided.

  Accordingly, any documents already produced to Defendants shall not be provided in response

  hereto.




                                                    -3-
Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23       Page 4 of 27 PageID:
                                              13858



          11.      Plaintiff objects to the definitions and instructions provided in the Document

  Requests to the extent that they exceed the requirements established by the Federal Rules of

  Civil Procedure and/or the Local Rules of this Court.

          12.      No response or objection made herein, or lack thereof, shall be deemed an

  admission by Plaintiff as to the existence or nonexistence of certain documents.

          13.      Plaintiff’s failure to object to the Document Requests on a particular ground shall

  not be construed as a waiver of its right to object on that or any other additional grounds.

          14.      Plaintiff reserves the right to modify, amend and/or supplement their responses to

  the Document Requests at any time both during discovery and at trial.

          15.      Plaintiff’s responses are made without waiver, and with preservation of, all

  objections as to competency, relevancy, materiality, privilege and admissibility of the responses

  and the subject matter thereof as evidence for any purposes in any further proceeding in this

  action (including the trial of this action) and any other action or proceeding.

                            SPECIFIC OBJECTIONS AND RESPONSES

          Plaintiff incorporates by reference its General Objections in response to each of the

  Document Requests set forth below. Expressly reserving their right to amend and supplement

  their responses to any and all of these Document Requests, Plaintiff makes the following

  responses while reserving the right to make additional objections as may be deemed appropriate

  during the course of these proceedings:


     1.         Produce all documents which record, refer to, or relate to the organization,

  incorporation, structure, operation and activities of Plaintiff insofar as they relate to any products

  sold and/or services offered by and/or intended to be sold, offered or promoted by Petitioner

  under Petitioner’s Marks in the United States and in other international territories.



                                                    -4-
Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23      Page 5 of 27 PageID:
                                             13859




  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

  that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

  of admissible evidence in this action. Plaintiff further objects to this Document Request to the

  extent that it is vague, ambiguous and, thus, not susceptible to a reasoned interpretation or

  response. Plaintiff further objects to the use of “Petitioner” as it is not a term defined by

  Defendants or subject to a reasoned interpretation. Plaintiff further objects to this Document

  Request to the extent that it is overbroad and unduly burdensome because it pertains to all of

  Plaintiff’s products rather than just the ZENÚ and RANCHERA products at issue. Plaintiff is

  withholding materials on the basis of the foregoing objections.



     2.      Produce all documents which record, refer to, or relate to any licenses, assignments,

  agreements, contracts, and/or arrangements between Plaintiff and any third party which relate in

  any manner to Plaintiff’s Marks and/or any mark that includes the term “ZENÚ,” including but

  not limited to, agreements separately in the United States and in other international territories.



  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

  that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

  of admissible evidence in this action. Plaintiff objects to this Document Request to the extent it

  is overbroad and unduly burdensome because it does not contain a topical, temporal or

  geographical limitation. Plaintiff further objects to this Document Request for its use of

  “Plaintiff’s Marks” as it is overbroad and encompasses a large number of brands not at issue in




                                                   -5-
Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23      Page 6 of 27 PageID:
                                             13860



  this litigation. Plaintiff further objects to this Document Request to the extent that it seeks

  confidential business, financial and/or proprietary information.

              Subject to and without waiver of the foregoing objections and the General Objections,

  Plaintiff will produce documents concerning any licenses or assignment of rights in the ZENÚ or

  RANCHERA marks, to the extent such documents exist. Plaintiff is withholding any responsive

  documents that do not fall within this specified search on the basis of the foregoing objections.



      3.      Produce all documents which record, refer to, or relate to Plaintiff’s use of the term

  “ZENÚ” in connection with any goods and/or services separately in the United States and in

  other international territories.



  RESPONSE: Plaintiff objects to this Document Request to the extent that it is overbroad and

  unduly burdensome because it does not contain a geographical or topical limitation. Plaintiff

  further objects to this Document Request to the extent that it is duplicative of all other Document

  Requests pertaining to the Plaintiff’s use of the ZENÚ mark. Plaintiff is withholding materials

  on the basis of the foregoing objections.



      4.      Produce all documents and/or communications which record, refer to, or relate to

  Plaintiffs decision to allow the cancellation or abandonment of the marks containing the term

  “ZENÚ” in commerce in the United States and Plaintiffs basis for refiling Plaintiff’s ZENÚ

  Application.




                                                   -6-
Case 2:16-cv-06576-CCC-MAH              Document 319-3          Filed 08/24/23       Page 7 of 27 PageID:
                                              13861



  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

  protected by the attorney-client privilege and the work-product doctrine as recognized under

  federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

  documents on these grounds. Subject to and without waiver of the foregoing objections and the

  General Objections, Plaintiff states that, at this time it is not aware of any non-privileged

  documents responsive to this request.



      5.      Produce all documents, advertisements, sales presentations, and/or communications

  that record, refer to, evidence, or relate to Plaintiff’s use, intent to use, or intent not to use the

  term “ZENÚ” on any of its products, separately in the United States and in other international

  territories including, without limitation, documents reflecting the cause and purpose behind

  foregoing use of the mark and/or plans in place at the time of abandonment to effectuate

  commencement.



  RESPONSE: Plaintiff objects to this Document Request to the extent that it is vague,

  ambiguous and, thus, not susceptible to a reasoned interpretation or response. Plaintiff further

  objects to this Document Request to the extent that it seeks information that is not relevant to this

  action, immaterial, or not reasonably calculated to lead to the discovery of admissible evidence

  in this action. Plaintiff further objects to this document request to the extent it is overbroad and

  unduly burdensome because it lacks a temporal or geographic limitation. Plaintiff further objects

  to this Document Request to the extent that it seeks confidential business, financial and/or

  proprietary information. Plaintiff further objects to this Document Request to the extent it is

  duplicative of Document Request Number 4. Plaintiff objects to this Document Request to the




                                                     -7-
Case 2:16-cv-06576-CCC-MAH             Document 319-3        Filed 08/24/23      Page 8 of 27 PageID:
                                             13862



  extent that it seeks documents protected by the attorney-client privilege and the work-product

  doctrine as recognized under federal law and pursuant to N.J.S.A. 2A:84A-20 and will be

  withholding existing privileged documents on these grounds. Because Plaintiff cannot ascertain

  what information is sought by Defendants in this Document Request, Plaintiff is withholding

  materials on the basis of the foregoing objections.



     6.      Produce all documents which record, refer to, or relate to Plaintiff’s sales or intended

  sales of any goods and/or services bearing “ZENÚ” as the source identifier, separately in the

  United States and in other international territories.



  RESPONSE: Plaintiff objects to this Document Request to the extent that it is overbroad and

  unduly burdensome because it does not contain a geographical or temporal limitation. Plaintiff

  further objects to this Document Request to the extent that it seeks documents already produced

  to Defendants in connection with the proceeding before the Trademark Trial and Appeal Board,

  Proceeding No. 92059947.

             Subject to and without waiver of the foregoing objections and the General Objections,

  Plaintiff will produce materials pertaining to the sales and promotion of its ZENÚ-branded

  products, to the extent such documents exist.



     7.      Produce all documents which record, refer to, or relate to any searches, investigations,

  studies, analyses, or inquiries conducted by or on behalf of Plaintiff, or by any person acting for

  or on its behalf, regarding the availability and/or registrability of “ZENÚ”, or of the term




                                                   -8-
Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23      Page 9 of 27 PageID:
                                             13863



  “ZENÚ” prior to Plaintiffs ZENÚ Application, separately in the United States and other

  international territories.



  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

  that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

  of admissible evidence in this action. Plaintiff further objects to this Document Request to the

  extent that it is over broad and unduly burdensome because it contains no temporal or

  geographical limitation. Plaintiff further objects to this Document Request to the extent that it

  seeks documents protected by the attorney-client privilege and the work-product doctrine as

  recognized under federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding

  existing privileged documents on these grounds. Plaintiff further objects to this Document

  Request to the extent that it seeks documents already produced to Defendants in connection with

  the proceeding before the Trademark Trial and Appeal Board, Proceeding No. 92059947.

              Subject to the foregoing objections and the General Objections, Plaintiff will produce

  non-privileged documents in response to this Document Request, to the extent such documents

  were not previously produced to Defendants in the proceeding before the TTAB and to the extent

  such documents exist.



      8.      Produce all documents which record, refer to, or relate to any website analytic data

  evidencing user visits for the United States and other international territories separately, and any

  inquiries received by Plaintiff from consumers from the United States and other international

  territories separately.




                                                  -9-
 Case 2:16-cv-06576-CCC-MAH               Document 319-3        Filed 08/24/23       Page 10 of 27
                                          PageID: 13864



RESPONSE: Plaintiff objects to this Document Request to the extent it is overbroad and

unduly burdensome because it does not have a temporal or geographic limitation. Plaintiff

further objects to this Document Request to the extent that it is vague, ambiguous and, thus, not

susceptible to a reasoned interpretation or response.

              Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce documents to establish the volume of web traffic to Plaintiff’s ZENÚ

website, www.zenu.com.co, from users in the United States. Plaintiff is withholding any

responsive documents that do not fall within this specified search on the basis of the foregoing

objections.



   9.         Produce all documents which refer to, relate to, or are in any way concerned with the

preparation, filing and/or prosecution of any applications for registration, state or federal, of

marks incorporating the term “ZENÚ” by Plaintiff.



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent that it is overbroad and unduly burdensome because it does not have a temporal or

geographic limitation. Plaintiff objects to this Document Request to the extent that it seeks

documents protected by the attorney-client privilege and the work-product doctrine as

recognized under federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding

existing privileged documents on these grounds.




                                                - 10 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23      Page 11 of 27
                                         PageID: 13865



           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce non-privileged documents concerning any trademark applications by

Plaintiff for marks incorporating the term ZENÚ in the United States, to the extent such

documents exist.



   10.     Produce a representative sample of each product which is being used or is intended to

be used by Plaintiff in which Plaintiff’s use of “ZENÚ” or any marks including the term

“ZENÚ” appears, separately for in the United States and in other international territories,

including the dates of creation, distribution channels and duration of product circulation.



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent it is overly broad and unduly burdensome because it does not have a temporal or

geographical limitation. Plaintiff further objects to this Document Request to the extent that it

seeks documents already produced to Defendants in connection with the proceeding before the

Trademark Trial and Appeal Board, Proceeding No. 92059947.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce samples of its products bearing the ZENÚ mark, to the extent such

documents exist.




                                                - 11 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23      Page 12 of 27
                                         PageID: 13866



    11.     Produce documents with dates of creation, distribution channels and duration for all

goods and/or services, in which Plaintiff’s Marks appear, separately for in the United States and

in other international territories.



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent it vague, ambiguous and, thus, not susceptible to a reasoned interpretation or response.

Plaintiff further objects to this Document Request to the extent it is overbroad and unduly

burdensome because it does not have a temporal or geographic limitation. Plaintiff further

objects to this Document Request for its use of “Plaintiff’s Marks” as it is overbroad and

encompasses a large number of brands not at issue in this litigation. Plaintiff further objects to

this Document Request to the extent that it is duplicative of Document Request Number 10.

Plaintiff is withholding materials on the basis of the foregoing objections.



    12.     Produce all documents which record, refer to, or relate to Plaintiff’s advertising

and/or promotional expenditures, or expected advertising and/or promotional expenditures, for

any goods offered for sale, sold and/or distributed under the “ZENÚ” mark or any other marks

including the term “ZENÚ,” separately for in the United States and in other international

territories. This request includes, without limitation, the advertising medium, the dates of any

such advertisements or promotions, the location of where the advertisements or promotions were

disseminated and the cost associated with such advertisements and/or promotions.




                                                - 12 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23      Page 13 of 27
                                         PageID: 13867



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent it is overbroad and unduly burdensome because it does not have a temporal limitation.

Plaintiff further objects to this Document Request to the extent that it seeks documents already

produced to Defendants in connection with the proceeding before the Trademark Trial and

Appeal Board, Proceeding No. 92059947.

           Subject to the foregoing objections and the General Objections, Plaintiff will produce

documents sufficient to establish Plaintiff’s recent advertising expenditures for its ZENÚ mark,

to the extent that such documents were not previously produced to Defendants in the proceeding

before the TTAB and to the extent such documents exist. Plaintiff is withholding any responsive

documents that do not fall within this specified search on the basis of the foregoing objections.



   13.     Produce all documents and communications which record, refer to, or relate to

Plaintiff’s past attendance or future intention to attend, any tradeshows or other events in the

United States, including without limitation, the date of attendance, proof of attendance (or plans

to attend), all products and advertisements included in such attendance (or planned to include),

and any sales data relating to such attendance.



RESPONSE: Plaintiff objects to this Document Request to the extent that it is vague,

ambiguous and, thus, not susceptible to a reasoned interpretation or response. Plaintiff further

objects to this Document Request to the extent it is overbroad and unduly burdensome because it

does not have a temporal limitation.




                                                - 13 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23       Page 14 of 27
                                         PageID: 13868



            Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce documents responsive to this Document Request, to the extent such

documents exist.



    14.     Produce all documents which record, refer to, or relate to the amount of sales (actual

and/or projected) by calendar quarter of goods sold by or for Plaintiff bearing the “ZENÚ” mark

or including the term “ZENÚ,” separately in the United States and in other international

territories. This request includes, without limitation, the identification of the goods or services,

the number of units and/or services sold, the dates of the sales, country in which sales made, and

the dollar value of the sales.



RESPONSE: Plaintiff objects to this Document Request to the extent that it is overbroad and

unduly burdensome because it does not contain a geographical or temporal limitation and seeks

more detailed sales information than is relevant to this action. Plaintiff further objects to this

Document Request to the extent that it is duplicative of Document Request Number 6. Plaintiff

further objects to this Document Request to the extent that it seeks documents already produced

to Defendants in connection with the proceeding before the Trademark Trial and Appeal Board,

Proceeding No. 92059947.

            Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce documents sufficient to establish Plaintiff’s recent sales of ZENÚ

products, to the extent such documents were not previously produced to Defendants in the

proceeding before the TTAB. Plaintiff is withholding any responsive documents that do not fall

within this specified search on the basis of the foregoing objections.




                                                - 14 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23      Page 15 of 27
                                         PageID: 13869




   15.     Produce all documents that record, refer to, or relate to exportation of products

bearing Plaintiff’s Marks or any mark including the term “ZENÚ” to and/or from the United

States, including without limitation the dates of transport and identification of the United States

retailers and/or other wholesale locations. Specifically, documents that record, refer to, or relate

to Plaintiff’s assertions in Paragraph 22 of its Amended Complaint, which states that “[f]or

several years, Plaintiff has obtained and packaged some of its products in the United States.

These products are then exported for sale in Colombia.”



RESPONSE: Plaintiff objects to this Document Request to the extent that it is overbroad and

unduly burdensome because it contains no temporal limitation and seeks more detailed

information than is relevant to this action. Plaintiff further objects to this Document Request to

the extent it vague, ambiguous and, thus, not susceptible to a reasoned interpretation or response.

Plaintiff further objects to this Document Request for its use of “Plaintiff’s Marks” as it is

overbroad and encompasses a large number of brands not at issue in this litigation. Plaintiff

further objects to this Document Request to the extent that it seeks documents already produced

to Defendants in connection with the proceeding before the Trademark Trial and Appeal Board,

Proceeding No. 92059947.

           Subject to and without waiver of the foregoing objections, Plaintiff will produce

documents sufficient to establish Plaintiff’s exportation of ZENÚ products from the United

States, to the extent such documents were not previously produced to Defendants in the

proceeding before the TTAB and to the extent such documents exist.




                                                - 15 -
 Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23      Page 16 of 27
                                        PageID: 13870



   16.     Produce all documents which record, refer to, or relate to any communication, oral or

written, received by Plaintiff from any person, separately in the United States and other

international territories which suggests, implies, or infers any connection or association between

Defendants and Plaintiff, or which inquires as to whether there is or may be such a connection or

association, based upon Plaintiff’s and/or its licensees’ or sublicensees’ use of Plaintiff’s Marks

and/or any designation that includes the term “ZENÚ.”



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds. Plaintiff further objects to this Document Request to the extent that

it seeks documents already produced to Defendants in connection with the proceeding before the

Trademark Trial and Appeal Board, Proceeding No. 92059947.

           Subject to and without waiver of the foregoing objections and General Objections,

Plaintiff will produce non-privileged documents that are responsive this Document Request, to

the extent such documents exist.



   17.     Produce all documents which record, refer to, or relate to any instance or occurrence

of likelihood of confusion and/or actual confusion on the part of any person, separately in the

United States and other International territories, between Defendants’ use of the “ZENÚ” mark,

and any of Plaintiff’s Marks or potential marks.




                                               - 16 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3          Filed 08/24/23      Page 17 of 27
                                         PageID: 13871



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds. Plaintiff further objects to this Document Request for its use of

“Plaintiff’s Marks” as it is overbroad and encompasses a large number of brands not at issue in

this litigation. Plaintiff further objects to this Document Request to the extent that it seeks

documents already produced to Defendants in connection with the proceeding before the

Trademark Trial and Appeal Board, Proceeding No. 92059947. Plaintiff further objects to this

Document Request to the extent that it is duplicative of Document Request Number 16.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce non-privileged documents related to any perceived consumer confusion

regarding Defendants’ use of the ZENÚ or RANCHERA marks, to the extent such documents

exist. Plaintiff is withholding any responsive documents that do not fall within this specified

search on the basis of the foregoing objections.



   18.     Produce all documents which record, evidence, refer to, or relate to Plaintiff’s

allegations in its Amended Complaint Paragraphs 8 and 45 that: Defendants have promoted

themselves as an importer of Colombian products; it’s goal is to “become the most reliable

importer for food and specialty products from South and Central America;” and that Defendants

claim “an exclusive distribution and importing rights agreement for the tri-state area” with a

major product manufacturer in Colombia.




                                                - 17 -
 Case 2:16-cv-06576-CCC-MAH             Document 319-3        Filed 08/24/23      Page 18 of 27
                                        PageID: 13872



RESPONSE: Plaintiff objects to this Document Request to the extent it seeks documents that

are publicly available and therefore equally accessible to Defendants.

           Subject to and without waiver of the foregoing objections, Plaintiff refers Defendants

to the article located at: https://www.sba.gov/offices/district/ny/new-york/success-stories/second-

business-rises-brothers-bakery.



    19.    Produce all documents which record, evidence, refer to, or relate to Plaintiff’s

allegation in its Amended Complaint Paragraph 72 that Defendants attempted to procure 400,000

of Plaintiff’s labels from Plaintiff’s own ZENÚ label provide in Medellín, Colombia.



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce non-privileged documents concerning Defendants’ attempts to procure

Plaintiff’s ZENÚ labels from its provider in Medellín, Colombia, to the extent such documents

exist.



    20.    Produce all documents which record, refer to, or relate to any inquiry, investigation,

evaluation, analysis, or survey conducted by Plaintiff or any person acting for or on behalf of

Plaintiff regarding any issues involved in this proceeding.




                                               - 18 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23      Page 19 of 27
                                         PageID: 13873



RESPONSE: Plaintiff objects to this Document Request to the extent it vague, ambiguous and,

thus, not susceptible to a reasoned interpretation or response. Plaintiff further objects to this

Document Request to the extent that it seeks documents protected by the attorney-client privilege

and the work-product doctrine as recognized under federal law and pursuant to N.J.S.A. 2A:84A-

20 and will be withholding existing privileged documents on these grounds. To the extent this

Document Request seeks expert disclosures, this Document Request is also premature.

            Subject to and without waiver of the foregoing objections and General Objections,

Plaintiff will produce non-privileged documents related to any investigation or analysis of

Defendants’ conduct or its impact, to the extent such documents exist. Plaintiff is withholding

any responsive documents that do not fall within this specified search on the basis of the

foregoing objections.



    21.     Produce all documents which record, refer to, or relate to any inquiry, investigation,

evaluation, analysis, or survey conducted by Plaintiff or any person acting for or on behalf of

Plaintiff with respect to Plaintiff’s fame and assertions that Plaintiff’s Marks are among the most

well-known trademarks for sausages and meat products, separately in the United States and in

other international territories.



RESPONSE: Plaintiff objects to this Document Request to the extent the use of “Plaintiff’s

Marks” is overbroad and unduly burdensome. Plaintiff further objects to this Document Request

to the extent that it is overbroad and unduly burdensome because it does not have a temporal

limitation. Plaintiff further objects to this Document Request to the extent that it seeks




                                                - 19 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23      Page 20 of 27
                                         PageID: 13874



documents already produced to Defendants in connection with the proceeding before the

Trademark Trial and Appeal Board, Proceeding No. 92059947.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce documents establishing consumer recognition of the ZENÚ and

RANCHERA brands to the extent such documents were not previously produced to Defendants

in the proceeding before the TTAB and to the extent such documents exist. Plaintiff is

withholding any responsive documents that do not fall within this specified search on the basis of

the foregoing objections.



   22.     Produce all documents which record, refer to, or relate to any determination or

opinion by Plaintiff or those acting on behalf of Plaintiff regarding Plaintiff’s first awareness of

Defendants’ use of the ZENÚ mark.



RESPONSE: Plaintiff objects to this Document Request to the extent that it is vague,

ambiguous and, thus, not susceptible to a reasoned interpretation or response. Plaintiff further

objects to this Document Request to the extent that it seeks documents protected by the attorney-

client privilege and the work-product doctrine as recognized under federal law and pursuant to

N.J.S.A. 2A:84A-20 and will be withholding existing privileged documents on these grounds.

Plaintiff further objects to this Document Request to the extent that it is duplicative of Document

Request Number 23.

           Subject to and without waiver of the foregoing objections and General Objections,

Plaintiff will produce non-privileged documents establishing when Plaintiff first became aware

of Defendants’ use of the ZENÚ mark, to the extent such documents exist.




                                                - 20 -
 Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23      Page 21 of 27
                                        PageID: 13875




   23.     Produce all documents in Plaintiff’s possession or control that refer or relate to

Defendants or Defendants’ Mark.



RESPONSE: Plaintiff objects to this Document Request to the extent that it is vague,

ambiguous and, thus, not susceptible to a reasoned interpretation or response. Plaintiff objects to

this Document Request to the extent that it seeks documents protected by the attorney-client

privilege and the work-product doctrine as recognized under federal law and pursuant to N.J.S.A.

2A:84A-20 and will be withholding existing privileged documents on these grounds.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce non-privileged documents in response to this Document Request, to the

extent such documents exist.



   24.     Produce all documents which record, refer to, or relate to Defendants’ Mark, website,

advertising, intended advertising, sales, promotion, and/or intended promotion of any goods

and/or services related to the ZENÚ mark in any country or international body.



RESPONSE: Plaintiff objects to this Document Request to the extent that it is vague,

ambiguous and, thus, not susceptible to a reasoned interpretation or response. Plaintiff further

objects to this Document Requests to the extent it seeks documents that are already or equally in

the Defendants’ possession, custody or control. Plaintiff objects to this Document Request to the

extent that it seeks documents protected by the attorney-client privilege and the work-product

doctrine as recognized under federal law and pursuant to N.J.S.A. 2A:84A-20 and will be




                                               - 21 -
 Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23      Page 22 of 27
                                        PageID: 13876



withholding existing privileged documents on these grounds. Plaintiff further objects to this

Document Request to the extent it is duplicative of Document Request Number 23.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce non-privileged documents in response to this Document Request, to the

extent such documents exist.



   25.     Produce all documents which record, evidence, refer to, or relate to Plaintiff’s

allegations in Paragraph 45 of Plaintiffs Amended Complaint that Defendant “has promoted [the

company] as an importer of Colombian products. Mr. Zuluaga has remarked that the company’s

goal is to “become the most reliable importer for food and specialty products from South and

central America.” In this vein, Defendants have touted that they possess “exclusive distribution

importing rights agreement for the tri-state area” with a major product manufacturer in

Colombia.”



RESPONSE: Plaintiff objects to this Document Request to the extent it seek documents that are

publicly available and therefore equally accessible to Defendants. Plaintiff further objects to this

Document Request to the extent it is duplicative of Document Request Number 18.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff refers Defendants to the article located at: https://www.sba.gov/offices/district/ny/new-

york/success-stories/second-business-rises-brothers-bakery.



   26.     Produce all documents which record, evidence, refer to, or relate to Plaintiff’s

allegations in its Amended Complaint Paragraphs 81-84 that: Defendants’ labels identify the




                                               - 22 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3         Filed 08/24/23      Page 23 of 27
                                         PageID: 13877



company as “Zenu Products US Inc.;” Defendants’ labels bear a “linea de exportacion” line;

Defendants’ products are often featured in the import/foreign sections of grocery stores; and that

Defendants’ sales representatives advise store owners that it has full rights to the distribution of

ZENÚ and RANCHERA marked products and led to believe that the products are the same

sources as Plaintiffs products from Colombia.



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds. Plaintiff further objects to this Document Request to the extent that

it seeks documents that are already in Defendants’ possession.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce non-privileged documents responsive to this Document Request, to the

extent such documents exist.



   27.     Produce all documents which record, evidence, refer to, or relate to Plaintiff’s

allegations in its Amended Complaint that Defendant has “been selling what, upon information

and belief, are sub-par meat products bearing the RANCHERA mark, and thereby adversely

affecting the future market of Plaintiffs RANCHERA products.”



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged




                                                - 23 -
 Case 2:16-cv-06576-CCC-MAH              Document 319-3        Filed 08/24/23      Page 24 of 27
                                         PageID: 13878



documents on these grounds. Plaintiff further objects to this Document Request to the extent that

it seeks documents that are already in Defendants’ possession.

            Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce non-privileged documents responsive to this Document Request, to the

extent such documents exist.



    28.     Produce all documents which record, evidence, refer to, or relate to Plaintiff’s

allegations in Paragraph 43 of Plaintiff’s Complaint that Wilson Zuluaga “launched Latinfood as

a result of his observation that there was a demand for specialty products from Colombia in the

tri-state area, which is home to large population of Colombian-Americans.”



RESPONSE: Plaintiff objects to this Document Request to the extent it seek documents that are

publicly available and therefore equally accessible to Defendants. Plaintiff further objects to this

Document Request to the extent it is duplicative of Document Requests Number 18 and 25.

            Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff refers Defendants to the article located at: https://www.sba.gov/offices/district/ny/new-

york/success-stories/second-business-rises-brothers-bakery.



    29.     Produce all press releases, articles and clippings relating to or commenting on goods

or services marketed or sold under Plaintiff’s Marks, separately in the United States and in other

international territories.




                                               - 24 -
 Case 2:16-cv-06576-CCC-MAH               Document 319-3          Filed 08/24/23    Page 25 of 27
                                          PageID: 13879



RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent that it is overbroad and unduly burdensome because it does not contain a topical, temporal

or geographical limitation. Plaintiff objects to this Document Request to the extent the use of

“Plaintiff’s Marks” is overbroad and unduly burdensome. Plaintiff is withholding materials on

the basis of the foregoing objections.



   30.     Produce a copy of all documents, other than those produced to any of the foregoing

requests, upon which Plaintiff intends to rely in connection with this Court proceeding, including

without limitation documents and things Plaintiff may offer as evidence to support its contention

that it holds superior rights in each of the Plaintiff’s Marks.



RESPONSE: Plaintiff objects to this Document Request to the extent the use of “Plaintiff’s

Marks” is overbroad and unduly burdensome. Plaintiff further objects to this request as

premature. Subject to and without waiver of the foregoing objections and the General

Objections, Plaintiff reserves the right to produce documents in response to this Document

Request once discovery has concluded.



   31.     Produce all documents or communications relating or referring to any alleged damage

or injury that Plaintiff has alleged suffered or will suffer as a consequence of the alleged use of

any of the Plaintiff’s Marks or any mark confusingly similar thereto by Defendants.




                                                - 25 -
 Case 2:16-cv-06576-CCC-MAH             Document 319-3         Filed 08/24/23    Page 26 of 27
                                        PageID: 13880



RESPONSE: Plaintiff objects to this Document Request to the extent the use of “Plaintiff’s

Marks” is overbroad and unduly burdensome. Plaintiff further objects to this request as

premature. Subject to and without waiver of the foregoing objections and General Objections,

Plaintiff reserves the right to produce documents in response to this Document Request once

discovery has concluded.



   32.     Produce all documents identified in response to Defendants’ First Set of

Interrogatories to Plaintiff not produced in response to the above requests.



RESPONSE: Subject to and without waiver of the General Objections, Plaintiff will produce

documents in response to this Document Request, to the extent such documents exist.




Dated: New York, New York
       August 9, 2017                            REED SMITH LLP


                                                  By: s/ Sarah Levitan
                                                      Peter D. Raymond (admitted pro hac vice)
                                                      Sarah Levitan, Esq.
                                                      599 Lexington Avenue
                                                      New York, New York 10022
                                                      Tel: (212) 521-5400

                                                        Tracy Zurzolo Quinn, Esq.
                                                        Princeton Forrestal Village
                                                        136 Main Street, Suite 250
                                                        Princeton, New Jersey 08540
                                                        Tel: (609) 987-0050

                                                        Attorneys for Plaintiff
                                                        Industria de Alimentos Zenú S.A.S.




                                               - 26 -
Case 2:16-cv-06576-CCC-MAH          Document 319-3   Filed 08/24/23   Page 27 of 27
                                    PageID: 13881


TO:   Mark J. Ingber
      The Ingber Law Firm
      Schoolhouse Plaza
      374 Millburn Avenue, Suite 301
      Millburn, New Jersey 07041

      Attorney for Defendants Latinfood U.S. Corp.
      d/b/a Zenú Products Co. (“Latinfood”) and
      Wilson Zuluaga




                                           - 27 -
